 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 In Re: Platinum And Palladium Commodities                  MASTER FILE
 Litigation                                                 No. 10 Civ. 3617 (WHP)

 This Document Relates To:

       Platinum/Palladium Futures Action



                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

declaration of Christopher Lovell, Esq. and the Stipulation and Agreement of Settlement

(“Settlement”), the Futures Plaintiffs, by and through their undersigned counsel, will respectfully

move this Court, before the Honorable William H. Pauley, III United States District Judge, at the

United States District Court, Southern District of New York, 500 Pearl Street, New York, New

York, on October 4, 2013 at 2:30 p.m., for entry of the [Proposed] Scheduling Order that, among

other things: (1) finds the Settlement to be sufficiently fair, reasonable, and adequate to warrant

dissemination of notice to the Futures Class; (2) certifies the Futures Class for settlement

purposes; (3) confirms the appointment of Lovell Stewart Halebian Jacobson LLP as class

counsel for the Futures Class; (4) finds the program of notice to be the best practicable notice

under the circumstances; (5) approves the forms of the mailed and published notice of the

Settlement; and (6) sets a schedule leading to the Court’s consideration of final approval of the

Settlement, including the date, time and place for a hearing to consider the fairness,

reasonableness and adequacy of the Settlement.




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Dated: New York, New York
       September 18, 2013

                            Respectfully submitted,

                            /s/ Christopher Lovell
                            Christopher Lovell
                            Christopher M. McGrath
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                            Counsel for the Futures Plaintiffs and Futures Class




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